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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:20CR00386-1

UNITED STATES OF AMERICA,

     Plaintiff,

v.

Almundo Cruz SINGER,

     Defendant.


     ORDER REGARDING REQUEST FOR MODIFICATION OF THE CONDITIONS OF
                            SUPERVISION


         THIS MATTER is before the Court upon request by the probation officer to
modify conditions of supervised release on the above-named defendant.

         HAVING considered the probation officer's petition, the Court:

         ORDERS the defendant's terms of supervision be modified to include the
following special conditions:
      1. Unless medically contraindicated, the defendant shall ingest a monitored
         substance abuse prevention medication, as prescribed by the treatment provider.
         The defendant may be required to pay the cost of medication as directed by the
         probation officer.

         FURTHER ORDERS that all terms and conditions of supervision previously
imposed remain in full force and effect.

          DATED at Denver, Colorado, this          day of July, 2023.

                                           BY THE COURT:


                                             Raymond P. Moore
                                             Senior United States District Judge
